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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    
 

 

 

 

 

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NAOMI DAVIES,
Plaintiff,
No. 10 Civ. 5981 (RA)
-\V-
OPINION AND ORDER
NEW YORK CITY DEPARTMENT OF
EDUCATION and SARAH SCROGIN,
Defendants.
x

RONNIE ABRAMS, United States District Judge:

Plaintiff Naomi Davies brings this action against the New York City Department of
Education (“DOE”) and Sarah Scrogin (collectively, “Defendants”) alleging a violation of the
Family and Medical Leave Act, 29 U.S.C. § 2601 et seq. (“FMLA”). Davies asserts that she was
retaliated against for taking leave from her employment as a teacher to recover from an injury
caused by a student. Before the Court is Defendants’ motion for summary judgment pursuant to
Rule 56 of the Federal Rules of Civil Procedure. For the reasons discussed below, Defendants’

motion for summary judgment is granted in its entirety.
 

I. Background!

A. Davies’ Employment Prior to East Bronx Academy

Davies began working for the DOE in 1985. (Defs. 56.1 §3.) From 1985 to 2001, she
worked as an English teacher at Christopher Columbus High School and then at the Manhattan
Center for Science and Math. (Id. 3, 5.) In or around September 2001, Davies resigned from
her employment with the DOE but returned in November 2003 to teach English at Evander
Childs High School in the Bronx. (Id. §{ 7-8.) In August 2007, Davies was excessed from her
position at Evander Childs High School and placed in the Absent Teacher Reserve.” (Id. § 9.)
Davies testified that she “never had been written up or received an unsatisfactory observation”
while teaching at these placements. (Jan. 31, 2013 Davies Decl., Glass Decl. Ex. 3.)

B. East Bronx Academy: The 2007-2008 School Year

Mi Prior to Davies’ FMLA leave

In September 2007, while Davies was in the Absent Teacher Reserve, Sarah Scrogin, the

Principal at East Bronx Academy (“EBA”), hired her to teach eighth grade English. (Defs. 56.1

§§] 10-11; Davies Dep., Leone Decl. Ex. B 45:10-13.) Davies began her new position at EBA on

 

The underlying facts are drawn from the Defendants’ Local Rule 56.1 Statement of Undisputed Material
Facts (“Defs. 56.1’’), the supporting Declaration of Kathryn Leone (“Leone Decl.”) and attached exhibits, Davies’
Counter-Statement of Material Facts to Defendants’ Rule 56.1 Statement (“PI 56.1”), and the Declaration of Bryan
Glass (“Glass Decl.”) and attached exhibits. Local Civil Rule 56.1(d) requires that “each statement controverting
any statement of material fact[] must be followed by citation to evidence which would be admissible.” Davies,
however, responds to most of Defendants’ facts—which cite to the record—by merely stating, “Plaintiff does not
dispute the existence of the document but does not agree with the self-serving characterizations written by the
document’s author.” Moreover, in support of her opposition, Davies relies solely on her memorandum of law, the
Glass Declaration and its three exhibits, the UFT-DOE Section 3020-a Disciplinary Procedure for Teacher
Performance Unit Cases, the June 14, 2012 Decision and Order of New York State Supreme Court Justice Manuel
Mendez, and Davies’ January 31, 2013 Declaration, none of which provide a basis upon which she can dispute the
majority of Defendants’ assertions. Accordingly, because Davies’ 56.1 counter-statement consists almost entirely of
admissions or conclusory denials not supported by citations to evidence, the material facts presented by Defendants
are undisputed and deemed admitted, except where otherwise noted. See Local Civil Rule 56, 1(c).

2 “A teacher who is ‘excessed’ is not fired, but rather is reassigned to another position in the school system.”
Galabya v. N.Y.C. Bd. of Educ., 202 F.3d 636, 639 (2d Cir. 2000). The Absent Teacher Reserve is “‘a substitute
teacher pool for teachers without a ‘regular or specific program’ for a given term.” Fisher v, N.Y.C. Dep’t of Educ.,
666 F. Supp. 2d 309, 315 (E.D.N.Y. 2000).

 
 

September 25, 2007, approximately three weeks after the beginning of the school year. (Defs.
56.1 9 12.)

Two weeks later, on October 9, 2007, Davies filed a Comprehensive Injury Report
asserting that she was injured “by a student falling onto [her] back” on October 4, 2007. (Id.
{| 13; Oct. 9, 2007 Comprehensive Injury Report, Leone Decl. Ex. D.) Because of this incident,
she was absent from work on October 5, 2009 and October 9 through October 12, 2009. (Defs.
56.1 § 14.) Davies returned to work on Monday, October 15, 2007, at which time she met with
Scrogin and Assistant Principal Campbell to discuss her attendance. (Id. 15.) They advised
Davies that excessive absences could result in an unsatisfactory rating for the school year. (Id.)
Davies worked from October 15, 2007 to October 29, 2007, and on October 30, 2007, she
stopped returning to work. (Id. 4 16.)

On November 13, 2007, Davies submitted a Request for Leave under the FMLA, which
was subsequently approved by the DOE for the period from December 1, 2007 to January 22,
2008. (Id. {| 18-19; Request for Leave, Leone Decl. Ex. G.) Davies testified that she decided to
take FMLA leave because “[she] wasn’t well” and that “[i]t was a whole slew of things. It was
my back. It was psychologically, my stomach, but it was all connected. It all went back to being
pushed, That set it off. Not coming to school to enjoy my teaching career. It wasn’t good.”
(Defs. 56.1 § 17; Davies Dep., Leone Dec]. Ex. B 57:21-24.)

2. After Davies’ FMLA Leave

On or about January 23, 2008, Davies returned from FMLA leave. (Defs. 56.1 4 20.)
Scrogin assigned her to teach one “second session” English class and to fill in for other teachers
on an as needed basis throughout the school day. (Id.) Davies was one of four teachers assigned

to teach second session classes. (Id. § 24.) These classes were offered to students from 2:00

 
 

p.m. to 6:00 p.m., but Davies was only required to teach from 2:00 p.m. to 3:10 p.m., allowing
her to keep regular school day hours. (Id. 421.) Although her class assignment was different,
she received the same salary as before taking FMLA leave. (Id. §] 22.) Davies, along with other
teachers at EBA, taught classes in the cafeteria, locker room, and library. (Id. § 23.)

At EBA, Scrogin or one of the assistant principals (collectively, “the administration”)
conducts classroom observations on a regular basis to ensure that the teachers are providing
satisfactory instruction. (July 2, 2012 Scrogin Decl. 94.) Typically, tenured teachers are
observed once per semester. (Id.) A teacher may be observed more frequently if she has
received unsatisfactory ratings in the past or if there have been complaints about the teacher’s
performance. (Id.) From March 2008 to May 2008, Davies was formally observed by the
administration five times and each lesson was rated unsatisfactory in a subsequent observation
report. (Defs. 56.1 §§ 27, 31, 33, 36-37.) The administration found that Davies did not
implement the skill based mini-lesson model used at EBA, did not engage the students and did
not assess the students’ level of understanding.? The administration encouraged Davies to
improve her performance by considering their recommendations for improvement, enrolling in
the union’s Peer Improvement Program (“PIP”)* and observing her colleagues for examples of
best practices. (Id. §§ 29, 32, 34.)

At the end of the 2007-2008 school year, Davies received a rating of unsatisfactory for
her annual performance evaluation. (Id. 41.) This unsatisfactory performance evaluation was

supported by eight documents, including the administration’s observation reports. (Id.)

 

3 See Mar. 10, 2008 Observation Report, Leone Decl. Ex. I; Mar. 14, 2008 Observation Report, Leone Decl.
Ex. K; Mar. 24, 2008 Observation Report, Leone Decl. Ex. L; May 12, 2008 Observation Report, Leone Decl. Ex.
M; May 6, 2008 Observation Report, Leone Decl. Ex. N.

? PIP is a program designed for tenured teachers who are in need of significant instructional improvement
and in danger of facing incompetence charges under Section 3020-a of the New York Education Law. (Defs. 56.1
94,)

 
 

In light of her unsatisfactory reviews, Scrogin, Assistant Principal Lyons, Davies and her
union representative met on June 23, 2008 to discuss the administrators’ concerns. They
discussed ways to improve Davies’ performance for the next school year and created an action
plan which Davies signed on June 26, 2008 (“Action Plan”). (Id. ] 42.) The Action Plan set
forth goals in five areas: (1) instructional management; (2) classroom management; (3) creating
and maintaining a positive learning environment; (4) lesson planning and preparation; and (5)
professional responsibilities. (Action Plan, Leone Decl. Ex. R.)

B. East Bronx Academy: The 2008-2009 School Year

1. Incidents of Student Misbehavior

Throughout the 2008-2009 school year, while continuing to teach at EBA, Davies
struggled with classroom management and frequently sought help from the administration and
other staff members in handling disruptive student behavior. Some of the documented incidents
of student misbehavior in Davies’ classes included: (1) a student accessing a pornographic
website on a school computer in class, (Defs. 56.1 {| 47); (2) a student throwing paper during
class, (id. | 73); (3) students inputting information into a library computer which prompted the
computer to “speak” obscene messages aloud, (id. § 75); (4) students microwaving their
textbooks during a class which was held in the school cafeteria, (id. §] 80); and (5) students
playing a “Blacks v. Latinos” game of dodgeball, (id. § 79). Davies alleges that despite filing
numerous incident reports about student misbehavior, her concerns went unaddressed by the
administration. (Pl. Mem. 6.) Davies, however, provides no evidence to support this allegation.

In addition, Davies reported sexually inappropriate student behavior to the administration
on two occasions. First, on or around October 24, 2008, Davies reported to Assistant Principal

Bauer and New York Police Department (“NYPD”) Officer Beaumont that a student had touched

 
 

her and made sexually inappropriate gestures to her by thrusting his pelvis. (Defs. 56.1 § 52.)
When questioned, three students told Scrogin and Officer Beaumont that Davies had pushed the
student. (Id.) The NYPD ultimately concluded that there was no criminal activity by the student
and instead prepared a corporal punishment intake form against Davies and submitted it to the
Office of Special Investigations. (Id.) Davies alleges that this intake form was ultimately
unsubstantiated. (P1. 56.1 4 53.)

Second, on December 4, 2008, Davies complained to a schoo] dean that two of her
students were stalking her and that one of her students had videotaped the other simulating a
sexual act toward her. (Defs. 56.1 § 74.) The dean and the school safety agent reviewed the
video and found no evidence of what Davies had described. (Id.) At a meeting held six days
later with the administration, Davies and her union representative, she denied using the word
“stalking” and complained only about students videotaping “dancing” in class. (Dec. 10, 2008
Letter, Leone Decl. Ex. LL.)

Zs Davies’ Performance

Several students and teachers complained to the administration about Davies’ instruction
and classroom management during the 2008-2009 school year. Students complained that they
were “not learning anything” because Davies was disorganized and “all [they] do is copy things”
into their notebooks. (Defs. 56.1 § 45; Sept. 18, 2008 Letter with Student Complaints, Leone
Decl. Ex. S.) Several students requested to be transferred out of Davies’ classes. (Nov. 7, 2008
Letter, Leone Decl. Ex. Z.) One complaint, signed by “a large group of [Davies’] students,”
stated:

To Whom It May Concern: I am writing to let you know that our teacher for

English Theater is not teaching well. Ms. Davies doesn’t teach like a teacher

should. Ever since September we have been writing monologues, but she doesn’t
say what it is. She is also annoying and rude. Please take this under

 
 

consideration.

(Defs. 56.1 4] 62; Nov.18, 2008 Letter, Leone Decl. Ex. EE.)

Teachers also complained about Davies on several occasions. One teacher complained
that Davies released students from class early, which disrupted instruction in other classes.
(Defs. 56.1 § 50; Oct. 14, 2008 Letter and Teacher Emails, Leone Decl. Ex. V.) In response,
Davies explained that she released the students early to provide time for her to clean up the
classroom. (Defs. 56.1 § 50.) Scrogin informed her that such early dismissal was in dereliction
of her teaching duties. (Id.) Later in the year, several teachers complained about overloading in
their classes due to students being transferred out of Davies’ classes because of her inability to
manage the classroom. (Id. § 77.) An anonymous complaint was also made to the New York
City 311 call center on October 16, 2008, alleging that Davies had no control over her classroom,
did not help her students and was incompetent. (Id. 4 51.)

These complaints were discussed with Davies during five different meetings. At these
meetings, the administration reminded her of the goals in her Action Plan. (Id. § 46.) Scrogin
advised Davies to utilize the EBA Ladder of Referral in the school’s “Staffulty Handbook” to
handle disciplinary issues. (Id. § 49.)

The administration also had concerns about Davies’ ability to manage her professional
responsibilities. For example, in November 2008, Davies and another teacher got into an
argument on their school email accounts because Davies was upset that the other teacher did not
assist her when she was struggling with classroom management. (Id. §{] 65-66.) At a subsequent
meeting with Davies, Scrogin and Bauer discussed her inappropriate use of her school email
account. (Id. § 65.) Davies asserts that she was unaware of any rule regarding use of her school

email account and that the other teacher was not disciplined. (PI. 56.1 § 66.) The administration

 
 

also expressed concern when Davies failed to enter students’ grades into the school’s
“Gradebook Wizard.” (Defs. 56.1 § 76.) Lastly, the administration faulted Davies for slamming
a school laptop computer on a table and for failing to report a suspected theft of her school issued
laptop for two days. (Id. § 69.) Davies contends that she did not deliberately slam the school
laptop and timely reported the theft of her school issued laptop. (PI. 56.1 4 70.)

In an effort to improve her performance, Davies agreed to participate in the PIP Plus,
(Defs. 56.1 § 95), but alleges that she was misled about the nature and intentions of the PIP Plus
as a tool to be used against teachers at their subsequent disciplinary hearings, (PI. 56.1 § 96). As
part of the program, Michael Ellis, Davies’ designated peer observer, conducted six classroom
observations of her from January 2009 through March 2009. (Defs. 56.1 4 100.) Ellis wrote
reports of his observations and made recommendations for improvement. In one report, he
stated, “[c]lassroom management remains a grave concern.” (Id. § 103.) After concluding his
observations, Ellis found “that [Davies] is unsatisfactory in her instructional job performance.”
(Id. 4] 105.)

The administration also observed Davies teaching a lesson eleven times throughout the
2008-2009 school year and found each lesson to be unsatisfactory.° At the conclusion of the
2008-2009 school year, Scrogin rated Davies’ overall performance unsatisfactory. This finding
was supported by 67 documents, including observation reports, letters to Davies and written

complaints. (Id. § 108.)

 

See Sept. 5, 2008 Observation Report, Leone Decl. Ex. UU; Sept. 12, 2008 Observation Report, Leone
Decl. Ex. VV; Sept. 22, 2008 Observation Report, Leone Decl. Ex. WW; Oct. 14, 2008 Observation Report, Leone
Decl. Ex. XX; Oct. 21, 2008 Observation Report, Ex. YY; Nov. 8, 2008, Observation Report, Leone Decl. Ex. ZZ;
Nov. 20, 2008 Observation Report, Leone Decl. AAA; Dec. 19, 2008 Observation Report, Leone Decl. Ex. BBB;
Jan. 20, 2008, Leone Decl. Ex. EEE; Feb. 26, 2009 Observation Report, Leone Decl. Ex. JJJ; Apr. 28, 2009, Leone
Decl. Ex. KKK.

 
Cc. Procedural History

Due to Davies’ performance in the 2007-2008 and 2008-2009 school years, the DOE
proffered charges against her pursuant to § 3020-a of the New York Education Law. (Id. 4 110.)
The DOE proffered fifty-eight specifications against Davies for “neglect of duty, incompetent
and inefficient service, conduct unbecoming of Davies’ position, and conduct prejudicial to the
good order and efficient or discipline of the service.” (Id. 112; May 4, 2009 Letter, Leone
Decl. Ex. MMM.)

A hearing on the specifications was held before Hearing Officer Richard Gaba over
fifteen days, at which Davies was represented by counsel. (Defs. 56.1 9113.) The hearing
record consisted of 1,584 pages of transcript and 175 exhibits. (Id.) Four witnesses testified.
(Id.) On December 18, 2010, the Hearing Officer rendered a 67-page decision finding Davies
guilty of fifty-five of the fifty-eight specifications and ordering her termination. (Id. at 114.)°
Accordingly, Davies was terminated from her position at the DOE as of January 3, 2011. (Id.
q 116.)

On or about December 27, 2011, Davies brought a CPLR article 75 petition in New York
State Supreme Court challenging the Hearing Officer’s penalty of termination. (Id. § 117.)
Davies’ petition was granted on June 14, 2012 and the matter was remanded to the Hearing
Officer for a lesser penalty. (Id.)

Davies brought the instant lawsuit on August 9, 2010 against Defendants claiming that

 

: Defendants assert that Davies is precluded from challenging the underlying factual findings of her § 3020-a
hearing. Plaintiff responds by arguing that preclusion should not apply in this instance because a State Supreme
Court Justice vacated the Hearing Officer’s penalty of termination. (Pl. Opp’n 4.) Defendants are correct that
“when a state agency acting in a judicial capacity resolves disputed issues of fact properly before it which the parties
have had an adequate opportunity to litigate, federal courts must give the agency’s factfinding the same preclusive
effect to which it would be entitled in the state’s courts.” Burkybile v. Bd. of Educ. of the Hastings-on-Hudson
Union Free Sch. Dist., 411 F.3d 306, 312 (2d Cir. 2005). In light, however, of the overwhelming evidence in this
record, discussed below, showing a non-discriminatory reason for the employment actions against Davies and her
failure to prove pretext, the Court need not even rely on the Hearing Officer’s factual findings.

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they retaliated against her for taking leave in violation of the FMLA. Defendants filed the
instant motion for summary judgment, which was fully briefed on February 21, 2013.
Defendants’ motion is granted.
Il. Summary Judgment Standard

“The court shall grant summary judgment if the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
R. Civ. P. 56(a). “A material fact is one that would ‘affect the outcome of the suit under the
governing law,’ and a dispute about a genuine issue of material fact occurs if the evidence is
such that a ‘reasonable [factfinder] could return a verdict for the nonmoving party.’” Sista v.

CDC Ixis N. Am., Inc., 445 F.3d 161, 169 (2d Cir. 2006) (quoting Anderson v. Liberty Lobby,

 

Inc., 477 U.S. 242, 248 (1986)). “While conclusory statements or mere allegations are not
sufficient to defeat a summary judgment motion, [the court is] required to resolve all ambiguities
and draw all permissible factual inferences in favor of the party against whom summary
judgment is sought.” Donnelly v. Greenburgh Cent. Sch. Dist. No. 7, 691 F.3d 134, 141 (2d Cir.
2012) (internal citations and quotation marks omitted).

“A trial court must be cautious about granting summary judgment to an employer when,
as here, its intent is at issue.” Gallo v. Prudential Resid. Servs., 22 F.3d 1219, 1224 (2d Cir.
1994). “Even in the discrimination context, however, a plaintiff must provide more than
conclusory allegations to resist a motion for summary judgment.” Holcomb v. Iona Coll., 521
F.3d 130, 137 (2d Cir. 2008).

If. Discussion
A. FMLA Retaliation

“The FMLA gives eligible employees an ‘entitlement’ to twelve workweeks per year of

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unpaid leave ‘because of a serious health condition that makes the employee unable to perform
the functions of the position of such employee.’” Sista, 445 F.3d 161, 174 (2d Cir. 2006)
(quoting 29 U.S.C. § 2612(a)(1)(d)). Thereafter, the employee has the right to return to the
position that she held before taking leave, or to an equivalent position with equivalent
employment benefits, pay, and other terms and conditions of employment. 29 U.S.C. § 2614(a).
An employee has “a private right of action to seek both equitable relief and money damages
against any employer (including a public agency)” should that employer “interfere with, restrain
or deny the exercise of FMLA rights.” Nevada Dept. of Human Resources v. Hibbs, 538 U.S.
721, 724-25 (2003) (internal citations omitted). Accordingly, “employers may not ‘use the
taking of FMLA leave as a negative factor in employment actions, such as hiring, promotions or
disciplinary actions.’” Smith v. Westchester Cnty., 769 F. Supp. 2d 448, 462 (S.D.N.Y. 2011)
(quoting 29 C.F.R. § 825.220(c)),

Retaliation claims under the FMLA are analyzed under the same burden-shifting
framework established by the Supreme Court in McDonnell Douglas Corporation v. Green, 411
U.S. 792 (1973), for Title VII retaliation claims. Potenza v. City of New_York, 365 F.3d 165,
168 (2d Cir. 2004). Under the McDonnell Douglas framework, once a plaintiff makes out a
prima facie case of retaliation, the burden of production shifts to the defendant to state a
legitimate, non-discriminatory reason for the adverse employment action. McDonnell Douglas,
411 U.S. at 802-04; Farias v. Instructional Sys., 259 F.3d 91, 98 (2d Cir. 2001). “[S]hould the
defendant carry this burden, the plaintiff must then have an opportunity to prove by a
preponderance of the evidence that the legitimate reasons offered by the defendant were not its
true reasons, but were a pretext for retaliation.” See Texas Dep’t of Cmty. Affairs v. Burdine,

450 U.S. 248, 253 (1981); McGuiness v. East West Indus., 857 F. Supp. 2d 259, 263-64

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(E.D.N.Y. 2012).
1. Prima Facie Case of Retaliation

“To establish a prima facie case of FMLA retaliation, a plaintiff must establish that (1) he
exercised rights protected under the FMLA, (2) he was qualified for his position, (3) he suffered
an adverse employment action, and (4) the adverse employment action occurred under
circumstances giving rise to an inference of retaliatory intent.” Donnelly, 691 F.3d at 147
(internal quotation marks omitted). There is no dispute that Davies exercised rights protected
under the FMLA or that her unsatisfactory performance ratings and misconduct charges were
adverse employment actions.’ Thus, only the second and fourth factors remain in dispute.

Davies’ evidence in support of a prima facie case is weak at best. Her burden at this first
step, however, is minimal. See Schnabel v. Abramson, 232 F.3d 83, 87 (2d Cir. 2000) (“the
burden of proof that must be met to establish a prima facie case is minimal”) (internal alterations
and quotation marks omitted). As to the second factor of her prima facie case, Davies, as a

properly credentialed, tenured teacher who has been employed by the DOE for over 20 years,

 

e In her complaint, Davies asserts that Defendants also took the following additional adverse actions upon
her return from FMLA leave: (1) switching her class assignment; (2) requiring her to teach in the locker room,
cafeteria and library; (3) frequently observing her classroom instruction; and (4) failing to discipline her students.
(Compl. {4 14, 15, 21(1), 21(6), 21(7).) None of these four actions meets the requisite standard for being materially
adverse. “For purposes of the FMLA’s anti-retaliation provision, a materially adverse action is any action by the
employer that is likely to dissuade a reasonable worker in the plaintiff's position from exercising his legal rights.”
Millea v. Metro-North R. Co., 659 F.3d 154, 164 (2d Cir. 2011). To be “materially adverse,” a change in working
conditions must be “more disruptive than a mere inconvenience or an alteration of job responsibilities.” Brown v.
City of Syracuse, 673 F.3d 141, 150 (2d Cir, 2012) (internal quotation marks omitted). Davies’ new class
assignment did not affect her salary or hours and unconventional classroom settings and frequent observations—
especially in light of a showing of poor performance—were common practice at EBA. See e.g., Galabaya v. N.Y.C.
Bd. of Educ., 202 F.3d 636, 639-40 (2d Cir. 2000) (teacher’s reassignment to class outside his area of expertise at a
different school with inferior facilities did not constitute an adverse employment action); Moccio v. Cornell Univ.,
889 F. Supp. 2d 539, 586-88 (S.D.N.Y. 2012) (requiring an employee to adjust to organizational changes not a
materially adverse action); Nicastro v. Runyon, 60 F. Supp. 2d 181, 186 (S.D.N.Y. 1999) (excessive scrutiny does
not constitute adverse action). In any event, Davies appears to have abandoned any claim of retaliation based on
these allegations because she failed to respond to Defendants’ argument that these claims lack merit. See, e.g.,
Singleton v. City of Newburgh, | F. Supp. 2d 306, 312 (S.D.N.Y. 1998); Powell v. Consolidated Edison Co. of New
York, Inc., No. 97 Civ 2439 (GEL), 2011 WL 262583, at *8 n.10 (“Because [plaintiff] has failed to respond with
any evidence . . . to the extent that any claims are predicated on these allegations, they must be considered
abandoned and are thus dismissed.”). Accordingly, the Court does not consider these allegations in its analysis.

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meets the “minimal qualifications for [the] job.” Slattery v. Swiss Reinsurance Am. Corp., 248
F.3d 87, 92 (2d Cir. 2001). Davies claims that she has also met her burden on the fourth factor,
showing that Defendants’ adverse actions give rise to an inference of retaliatory intent, by
demonstrating that she received her first unsatisfactory classroom observation and annual rating
only after returning from FMLA leave. Although Davies’ evidence as to the fourth factor is less
than convincing, for purposes of this motion, the Court will assume, without deciding, that
Davies has met such burden and thus established a prima facie case. See e.g., Jain v. McGraw-
Hill Companies, Inc., 827 F. Supp. 2d 272, 277 (S.D.N.Y. 2011); Di Giovanna v. Beth Israel
Medical Center, 651 F. Supp. 2d 193, 204 (S.D.N.Y. 2009).
2 Legitimate, Nondiscriminatory Reason

Assuming Davies established a prima facie case of retaliation, Defendants must articulate
a “legitimate, non-discriminatory reason for the employment action,” which they have clearly
done. Weinstock v. Columbia Univ., 224 F.3d 33, 42 (2d Cir. 2000). “The employer’s burden is
‘merely one of production, not persuasion; it can involve no credibility assessment.” Esser_v.
Rainbow Advertising Sales Corp., 448 F. Supp. 2d 574, 581 (S.D.N.Y. 2006) (quoting Reeves v.
Sanderson Plumbing Prods., Inc., 530 U.S. 133, 142 (2000)). Defendants assert that their
adverse actions—unsatisfactory ratings and disciplinary charges—were a result of Davies’ poor
performance. Defendants have provided ample evidence of Davies’ incompetence including a
total of sixteen unsatisfactory classroom observations, two consecutive years of unsatisfactory
annual ratings and numerous complaints from teachers and students. Defendants have thus met
their burden. See Saulpaugh v. Monroe Cmty. Hosp., 4 F.3d 134, 141 (2d Cir. 1993) (accepting

poor performance as a legitimate reason for adverse action).

 
 

oe Pretext

At this stage, the burden shifts back to Davies to offer admissible evidence from which a
reasonable jury could conclude that Defendants’ legitimate, non-discriminatory reason for the
employment actions was mere pretext. Davies “need not show that [D]efendants’ proffered
reason was false or played no role” in the adverse actions “but only that it was not the only
reason, and that [her] filing for FMLA leave was at least one motivating factor.” Di Giovanna,
651 F. Supp. 2d at 205.

Davies argues that a jury could conclude that Defendants gave her unsatisfactory ratings
and initiated disciplinary proceedings in retaliation for taking FMLA leave because their actions
“were based on nothing more than subjective self-serving observations initiated by the very
administrators who sought to terminate Plaintiff's employment.” (PI. Opp’n 5). This inference
is not supported by the record. Defendants documented Davies’ poor performance over the
course of two school years. She was observed and reviewed by Principal Scrogin as well as
three different assistant principals. Davies’ performance was also assessed by a peer observer as
part of her participation in PIP, who concurred with the administration’s conclusions. Insofar as
Davies argues that constant observations themselves were evidence of retaliatory animus, “courts
have consistently rejected pretext claims premised . . . upon even relatively intense teacher
scrutiny.” Missick v. City of New York, 707 F. Supp. 2d 336, 350 (E.D.N.Y. 2010) (collecting
cases). Defendants also presented evidence of Davies’ poor performance through student and
teacher complaints. Given the variety and quantity of evidence in the record demonstrating that
Davies was not competently performing her job, there is no reason to believe that the
unsatisfactory reviews and subsequent disciplinary charges were a pretext for Defendants’

retaliation. See Ralkin v. N.Y.C. Transit Auth., 62 F. Supp. 2d 989, 998 (E.D.N.Y. 1999)

14

 
 

(finding that use of multiple evaluators undercuts discriminatory inference).

Davies also argues that Defendants’ actions must have been retaliatory because she
“never received a single written unsatisfactory observation from school administration before she
took [FMLA leave] . . . after more than 20 years of satisfactory and discipline-free teaching.” (PI.
Opp’n 5). This argument fails, however, because “[t]he mere fact of past satisfactory
performance, followed by negative feedback, is not suggestive of impermissible animus.”
Missick, 707 F. Supp. 2d at 350. Additionally, her argument that pretext is demonstrated by the
shift from satisfactory to unsatisfactory reviews after her FMLA leave ignores the fact that the
administration did not have the opportunity to evaluate Davies before she took leave as her
period of absence began only two weeks after she started teaching at EBA. Accordingly, the
prior evaluations, which occurred in different teaching positions at different schools, have
diminished value for purposes of revealing Defendants’ intent. Lastly, the only evidence in the
record of Davies’ 20 years of satisfactory reviews is a reference in the State Supreme Court
decision that she had “no prior disciplinary charges” and her own declaration, which pales in
comparison to the overwhelming record of Davies’ poor performance at EBA before the Court.

Without providing any evidence, direct or indirect, that Defendants’ proffered reasons for
giving Davies unsatisfactory ratings and instituting disciplinary charges against her were
pretextual, Davies has failed to demonstrate that a reasonable trier of fact could find that her
exercising her rights under the FMLA was a motivating factor in Defendants’ actions. See
Geromanos v. Columbia Univ., 322 F. Supp. 420, 429 (S.D.N.Y. 2004) (“FMLA is not a shield
to protect employees from legitimate disciplinary action by their employers if their performance
is lacking in some matter unrelated to their FMLA leave,”); see also Sista, 445 F.3d at 176

(finding that “the FMLA ‘gives no greater job security than that to which the employee would

15

 
have been entitled prior to taking leave’”) (quoting Hale v. Mann, 219 F.3d 61, 66 (2d Cir.
2000)).
IV. Conclusion

For the foregoing reasons, Defendants’ motion is granted in its entirety. The Clerk of

Court is directed to close docket number 19, enter judgment for Defendants and close the case.

SO ORDERED.
Dated: March 27, 2013
New York, New York Sie t h

 

Ronnie Abrams
United States District Judge

16

 
